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                             UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MASSACHUSETTS
                                     WESTERN DIVISION


In Re:                                                   Chapter 7

Sarah F. Huberty

                                                         Case Number 18-30374-EDK
                         Debtor



              MOTION FOR RELIEF FROM AUTOMATIC STAY (REAL PROPERTY)


         Webster Bank, National Association (“Movant”) hereby moves this Court, pursuant to 11 U.S.C.

§ 362, for relief from the automatic stay with respect to certain real property of the Debtor having an

address of 30 Cross Street, Westfield, MA 01085 (the “Property”), for all purposes allowed by the Note

(defined below), the Mortgage (defined below), and applicable law, including but not limited to the right

to foreclose. In further support of this Motion, Movant respectfully states:


         1.     A petition under Chapter 7 of the United States Bankruptcy Code was filed with respect

to the Debtor on May 11, 2018. Pursuant to the Debtor’s Statement of Intention filed on May 12, 2018,

the Property is to be surrendered.

         2.     The Debtor has failed to maintain monthly payments to creditors with interests in the

Property pursuant to 11 U.S.C. § 362(d)(3)(B).

         3.     The Debtor has executed and delivered or is otherwise obligated with respect to that

certain promissory note in the original principal amount of $186,400.00 (the “Note”). A copy of the Note

is attached hereto as Exhibit A. Movant or its custodian and/or agent is, as of the date hereof, in

possession of the Note. Movant is an entity entitled to enforce the Note.

         4.     Pursuant to that certain Mortgage (the “Mortgage”), all obligations (collectively, the

“Obligations”) of the Debtor under and with respect to the Note and the Mortgage are secured by the

Property. A copy of the recorded Mortgage is attached hereto as Exhibit B.
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        5.       As evidenced by the Assignment of Mortgage attached hereto as Exhibit C, the Mortgage

has been assigned to Webster Bank, National Association. Bank of America, N.A., as servicer for

Movant.

        6.       As of May 18, 2018, the outstanding amount of the Obligations less any partial payments

or suspense balance is $158,510.58.

        7.       In addition to the other amounts due to Movant reflected in this Motion, as of the date

hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred $750.00

in legal fees and $181.00 in costs. Movant reserves all rights to seek an award or allowance of such fees

and expenses in accordance with applicable loan documents and related agreements, the Bankruptcy Code

and otherwise applicable law.

        8.       The following chart sets forth the number and amount of payments due pursuant to the

terms of the Note that have been missed by the Debtor as of May 18, 2018:

     Number of
                                                                   Monthly              Total Amounts
      Missed              From                    To
                                                                Payment Amount           Delinquent
     Payments


          1              10/1/17               10/1/17               $1,528.85             $1,528.85



          7              11/1/17                5/1/18               $1,481.53             $10,370.71

                      Less Partial Payments (Suspense Balance)                             ($307.25)

                                                                                   Total: $11,592.31



        9.       The estimated fair market value of the Property is $157,800.00. The basis for such

valuation is Debtor Schedules. The estimated liquidation value of the Property is $147,112.43, calculated

as the fair market value less (i) a reasonable realtor’s fee (6%); (ii) deed stamps ($719.57); and (iii)

anticipated closing costs associated with a real estate closing ($500.00).
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         10.       Upon information and belief, the encumbrances on the Property listed in the Schedules or

otherwise known, including but not limited to the encumbrances granted to Movant, listed in order of

priority, are:


                 Holder                              Type                               Amount

                 Movant                          1st Mortgage                         $158,510.58



                                                                                          Total: $158,510.58

         11.       No collateral other than the Property, as described in the Mortgage, secures the

Obligations.

         12.       Upon information and belief, a Declaration of Homestead with respect to the Property has

been recorded in Hampden County Registry of Deeds in Book 14578, Page 591.

         13.       Cause exists for relief from the automatic stay for the following reasons:

                   (a)     Movant’s interest in the Property is not adequately protected. The fair market

value of the Property is declining and payments are not being made to Movant sufficient to protect

Movant’s interest against that decline.

                   (b)     Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property;

and pursuant to § 362(d)(2)(B), the Property is not necessary for an effective reorganization.




         WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the stay

and granting the following:



         1. Relief from the stay for all purposes allowed by the Note, the Mortgage, and applicable law,

including but not limited allowing Movant (and any successors or assigns) to proceed under applicable

non-bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the Property.
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        2. That the Order be binding and effective despite any conversion of this bankruptcy case to a

case under any other chapter of Title 11 of the United States Code.

        3. For such other relief as the Court deems proper.



Dated: June 6, 2018
                                                 Respectfully submitted,
                                                 Webster Bank, National Association
                                                 By its attorney,

                                                 /s/ Marcus Pratt
                                                 Marcus Pratt, Esquire
                                                 BBO #684610
                                                 Korde & Associates, P.C.
                                                 900 Chelmsford Street, Suite 3102
                                                 Lowell, MA 01851
                                                 Tel: (978) 256-1500
                                                 bankruptcy@kordeassociates.com
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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                 WESTERN DIVISION

 In Re:                                               Case Number 18-30374-EDK
 Sarah F. Huberty                                     Chapter 7

              ORDER ON THE MOTION OF WEBSTER BANK, NATIONAL
               ASSOCIATION AND/OR ITS SUCCESSORS AND ASSIGNS
                   FOR RELIEF FROM THE AUTOMATIC STAY

 At Springfield in said District, on the ________ day of _________________, 2018, on the
 Motion of Webster Bank, National Association and/or its successors and assigns (“Movant”) after
 notice to all parties on the Movant's Certificate of Service, it is hereby

 ORDERED AND DECREED:

        1. Movant is granted Relief from the Automatic Stay imposed pursuant to 11 USC
           362(a) on the filing of the Petition for Relief.

        2. Movant and any successor in interest is permitted to proceed forward to pursue its
           rights and remedies under state and/or federal law, including but not limited to a
           foreclosure of the mortgage it holds on real estate located at 30 Cross Street,
           Westfield, MA 01085, which mortgage is dated January 12, 2007 and recorded in
           Hampden County Registry of Deeds in Book 16453, Page 484 (the “Mortgage”). A
           copy of such mortgage was attached to the Motion for Relief at issue. Further,
           Movant is authorized to proceed with its eviction rights in accordance within
           applicable law with respect to such Property should Movant, or its successor in
           interest, become the successful bidder at a foreclosure sale.

        3. Movant and/or its successors, assigns, and servicer may, at its option offer, provide
           and enter into a potential forbearance agreement, loan modification, refinance
           agreement or other loan workout/loss mitigation agreement. Movant may contact the
           Debtor via telephone or written correspondence to offer such an agreement. Any
           such agreement shall be non-recourse unless included in a reaffirmation agreement.


                                                ____________________________________
                                                Honorable Judge Katz
                                                United States Bankruptcy Judge
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                                     CERTIFICATE OF SERVICE

        I, Marcus Pratt, Attorney for Webster Bank, National Association and/or its successors and
assigns hereby certify that on June 6, 2018 I electronically filed the foregoing Motion for Relief and
Proposed Order with the United States Bankruptcy Court for the District of MA using the CM/ECF
System. I served the forgoing documents on the following CM/ECF participants:

Richard King, Assistant U.S. Trustee
Steven Weiss, Ch. 7 Trustee
Roger Lipton, Esquire

        I certify that I have mailed by first class mail, postage prepaid the documents electronically filed
with the Court on the following non-CM/ECF participants:

Sarah F. Huberty                                  Tax Collector:
30 Cross Street                                   Town of Westfield, MA
Westfield, MA 01085                               59 Court Street
                                                  Westfield, MA 01085


                                                  /s/ Marcus Pratt
                                                  Marcus Pratt, Esquire
                                                  BBO #684610
                                                  Korde & Associates, P.C.
                                                  900 Chelmsford Street, Suite 3102
                                                  Lowell, MA 01851
                                                  Tel: (978) 256-1500
                                                  bankruptcy@kordeassociates.com
